                      UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION



RALEIGH WAKE CITIZENS ASSOCIATION,  )
INC, JANNET B. BARNES, BEVERLEY S.  )
CLARK, WILLIAM B. CLIFFORD, BRIAN   )
FITZSIMMONS, GREG FLYNN, DUSTIN     )         JUDGMENT IN A CIVIL CASE
MATTHEW INGALLS, AMY T. LEE, ERVIN  )         CASE NO. 5:15-CV-156-D
PORTMAN, SUSAN PORTMAN, JANE C.     )
ROGERS, BARBARA D.VANDENBERGH,      )
JOHN G.VANDENBERGH, AMY WOMBLE,     )
AND PERRY WOODS,                    )
                                    )
                    Plaintiffs,     )
                                    )
V.                                  )
                                    )
THE WAKE COUNTY BOARD OF ELECTIONS, )
                                    )
                    Defendant.      )


CALLA WRIGHT, WILLIE BETHEL,            )
AMY LEE, AMYGAYLE WOMBLE,               )
JOHN VANDENBERGH, BARBARA               )
VANDENBERGH, AJAMU DILLAHUNT,           )
ELAINE DILLAHUNT, LUCINDA               )
MACKETHAN, WILLIAM CLIFFORD, ANN        )
LONG CAMPBELL, GREG FLYNN, BEVERLY      )
CLARK, CONCERNED CITIZENS FOR           )
AFRICAN-AMERICAN CHILDREN,              )
AND RALEIGH WAKE CITIZENS               )     JUDGMENT IN A CIVIL CASE
ASSOCIATION,                            )     CASE NO. 5:13-CV-607-D
                       PLAINTIFFS,      )
V.                                      )
                                        )
STATE OF NORTH CAROLINA AND             )
WAKE COUNTY BOARD                       )
OF ELECTIONS,                           )
                     Defendants.        )




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Decision by Court.
This action came before this Court for ruling as follows.

IT IS ORDERED, ADJUDGED, AND DECREED plaintiffs have failed to prove that either
the 2013 Wake County School Board Plan or the 2015 Wake County Commissioners Plan
violates the one person one vote requirement in the United States and North Carolina
Constitutions. Plaintiffs also have failed to prove that the 2015 General Assembly racially
gerrymandered District 4 in the 2015 Wake County Commissioners Plan. Accordingly, the court
enters judgment in favor of the defendant Wake County Board of Elections.


IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that pursuant to the Notice of
Voluntary Dismissal entered on June 5, 2015, defendants Chad Barefoot, Philip E. Berger, and
Tim Moore, are voluntarily dismissed without prejudice.


SO ORDERED. This 26th day of February, 2016.




This Judgment Filed and Entered on February 26, 2016, and Copies To:
Alexander McClure Peters                                    (via CM/ECF Notice of Electronic Filing)
Melissa L. Trippe                                           (via CM/ECF Notice of Electronic Filing)
Anita S. Earls                                              (via CM/ECF Notice of Electronic Filing)
George E. Eppsteiner                                        (via CM/ECF Notice of Electronic Filing)
Allison Jean Riggs                                          (via CM/ECF Notice of Electronic Filing)
Charles F. Marshall, III                                    (via CM/ECF Notice of Electronic Filing)
Claire Alise Hunter                                         (via CM/ECF Notice of Electronic Filing)
Jessica Thaller-Moran                                       (via CM/ECF Notice of Electronic Filing)
Matthew B. Tynan                                            (via CM/ECF Notice of Electronic Filing)




DATE:                                            JULIE RICHARDS JOHNSTON, CLERK
February 26, 2016                                (By) /s/ Nicole Briggeman
                                                  Deputy Clerk




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